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Attorney for Plaintiffs

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

ALAN BAKER, et seq. CASE NO. 2:19-cv-08024

Plaintiffs, PLAINTIFFS’ OPPOSITION TO
DEFENDANT ALLSTATE

VS. INSURANCE COMPANY ’S EX
PARTE APPLICATION FOR
ALLSTATE INSURANCE DISMISSAL AND

COMPANY, ef seq. DISQUALIFICATION;
MEMORANDUM IN SUPPORT

Hon. Otis D. Wright II

Date: December 16, 2019

Time: 1:30 p.m.

Dept: First Street Courthouse
Courtroom 5D

Defendants.

 

 

Plaintiffs ALAN BAKER and LINDA B. OLIVER hereby oppose and object
to the meritless and untimely ex parte application for dismissal and disqualification
filed by Defendant ALLSTATE INSURANCE COMPANY. Plaintiffs respectfully
request the Court consider the arguments and evidence submitted herewith, deny
ALLSTATE’S application, reverse the order setting an OSC and placing a hold on
depositions, and award monetary sanctions against ALLSTATE for continued bad-
faith litigation tactics.

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| The ex parte application by Defendant is a desperate and improper attempt at
2 || gamesmanship, filed without any attempt at informal resolution on the eve of a stormy
3 || Thanksgiving holiday. Defendant’s papers were prepared and filed without regard for,

4 || and in violation of, applicable law local rules, for the improper purposes of delaying

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depositions and frustrating the administration of justice.

6 Defense counsel’s sole “evidence” in support of their application is a hearsay
7||reference alleging the undersigned told defense counsel “I know where you live”
8 || during settlement discussions. Plaintiffs submit this is not good cause for a motion,
9 ||let alone ex parte relief intended to be availed by litigants facing extraordinary
10 || circumstances. Settlement discussions and all litigation related speech are “absolutely
11 || privileged” under California Civil Code section 47(b) and inadmissible as evidence
12 |\under California Evidence Code section 1152 — they cannot be used for any
13 || substantive purpose against Plaintiffs.

14 Plaintiffs respectfully request the Court reverse its order staying depositions
15 || and setting an “Order to Show Cause” on Defendant’s application on December 16,
16]/2019, and instead allow Plaintiffs to proceed with scheduled depositions and
17 || discovery. Plaintiffs respectfully request the Court issue monetary sanctions against
18 |} ALLSTATE and their counsel, or such other and further relief as the Court considers
19 || proper, up to and including striking their pleadings pursuant to FRCP 11.

20 I. CASE OVERVIEW

21 This is a first-party bad faith insurance case filed in the Superior Court of
22 || California, County of Los Angeles on August 13, 2019. The complaint was filed on
23 || behalf of two elderly homeowners who reside in Hancock Park and suffered a massive
24||water loss on September 20, 2018 which destroyed nearly half their home.
25 || Unfortunately, their misfortune turned into a nightmare when their “good hands”
26 ||insurer assigned their claim to an adjuster who did not understand the benefits
27|| plaintiffs purchased as part of their “Deluxe Homeowners Policy.” Instead of co-

28 || operating with the insured to make available up to $1.7 million dollars in extended

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replacement coverage to reasonably repair the damage, ALLSTATE’S adjuster
EDWARD CARRASCO attempted to bludgeon these elderly customers into
accepting pennies on the dollar of what they were owed.

Prior to filing this lawsuit, the undersigned wrote EDWARD CARRASCO to
try and resolve this matter. Attached to the supporting Declaration of Christopher G.
Hook as Exhibit “A” is a copy of the initial demand letter. (Declaration of Christopher
G. Hook, Paragraph 8.) No response of any kind was received by CARRASCO. (Hook
Dec. 4 8.)

The complaint filed in State court on August 13, 2019 (Hook Dec. 4 8.) includes
seven causes of action, including tort claims against ALLSTATE INSURANCE
COMPANY and local ALLSTATE adjuster EDWARD CARRASCO. On or about
September 17, 2019, the law firm SHEPPARD, MULLIN, RICHTER & HAMPTON
(“SMRH”) filed papers noticing removal of the action to federal court, claiming
“diversity jurisdiction.”

Their flawed argument for diversity: “If an agent of an insurer acts in the name
of its principal, and the agency if fully disclosed, only the principal, not the agent, can
be held liable for the acts of the agent. Khordadian v. New York Life Ins. Co., 2014
WL 12705059, at *3 (C.D. Cal. June 10, 2014) ... Plaintiffs admit that Mr. Carrasco
was a fully disclosed agent acting in the course and scope of his employment with
Allstate. For this reason, Plaintiff cannot state any valid claim against Mr. Carrasco.”
(ALLSTATE’S Notice of Removal; Page 3, line 15 to Page 4, line 13.)

On September 24, 2019, ALLSTATE filed a Motion to Dismiss Plaintiffs’
Third, Fourth, Fifth, Sixth and Seventh causes of action against defendant adjuster
EDWARD CARRASCO. (Hook Dec.; § 10 & 11.) On November 12, 2019, Plaintiffs
filed an Opposition to the Motion to Dismiss and Removal papers filed by SMRH,
because there was no diversity jurisdiction and the removal was simply a continuation
of ALLSTATE’S bad-faith tactics.

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On November 13, 2019, Plaintiffs’ counsel Christopher G. Hook (“Hook”)
deposed Robert Romero, identified as the supervisor of EDWARD CARRASCO.
(Hook Dec., {| 13.) The deposition was concluded at approximately four thirty (4:37
p.m.) at the request of Mr. Romero (who was tired) and defense counsel Marc
Feldman, with the promise to make him available again in sixty days. At no time did
Mr. Feldman express to the undersigned an opinion that Hook was behaving
inappropriately towards counsel or the witness. A true and complete copy of the
transcript from the first session of the deposition of Robert Romero is attached to the
Declaration of Christopher G. Hook as Exhibit “D” evidencing same.

Defendant CARRASCO’S deposition was taken on November 15, 2019. The
deponent was represented by Mr. Feldman. The deposition proceeded without
incident until the mid-afternoon when the witness grew tired after less than four hours
of testimony and requested a continuance. Plaintiffs’ counsel agreed to continue the
deposition to a mutually convenient date. At no time during the deposition did Mr.
Feldman indicate that the undersigned was threatening the witness or making him
uncomfortable.

A true and complete copy of the transcript from the first session of the
deposition of EDWARD CARRASCO is attached to the Declaration of Christopher
G. Hook as Exhibit “E.”

During CARRASCO’S deposition, a policy limits settlement demand was
extended to ALLSTATE. This demand was left open until the day after the deposition.
As set forth in further detail in the supporting declaration of Christopher G. Hook,
following CARRASCO’S deposition it was the opinion of counsel that clear and
convincing evidence existing giving rise to a high probability claim of punitive
damages against ALLSTATE insurance. After such date, Plaintiffs’ counsel began
aggressively negotiating a settlement with defense counsel.

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Unfortunately, defense counsel decided to ignore Mr. Hook, refusing to take
his calls or respond to his voice and electronic mails in a disrespectful manner
violating rules of professional conduct and civility. (Hook Dec. § 21 & 22.)

The unfortunate byproduct of this “stonewalling” were the alleged angry and
inappropriate words directed at Mr. Klee in conjunction with trying to resolve this
case, which are nonetheless privileged under Civil Code section 47(b). Coarse or
offensive language used privately between counsel during litigation and settlement
discussions, are no basis for placing a “hold” on depositions, dismissing this action,
or disqualifying the Plaintiffs’ counsel of choice. On the contrary, ALLSTATE’S ex
parte application (with a supporting declaration from Mr. Klee admitting no effort to
meet and confer, and admitting he has “never spoken” to the undersigned) is another
example of bad faith litigation tactics in violation of FRCP 11.

I]. LEGAL ARGUMENTS AND AUTHORITY

Ex parte motions are disfavored because the nonmoving party has limited
Opportunity to oppose the motion, and there is always the concern that the movant
may not be presenting all the facts the court needs to know before making a ruling
and that its ruling, therefore, may be incorrect or unfair to the nonmoving party. (See
In re Intermagnetics America, Inc. (CD CA 1989) 101 BR 191, 192-193; In re High
Sulfur Content Gasoline Products Liability Litig. (5" Cir. 2008) F.3d 220, 231.)

Defendant ALLSTATE’S ex parte application is procedurally defective and
improper and should be summarily denied. The motion is factually baseless and is a
“bad-faith” litigation tactic designed to improperly delay this case to Plaintiffs’
prejudice and should be stricken pursuant to FRCP 11.

A. Defendant ALLSTATE Failed to Meet and Confer Prior to Filing

The Local Civil Rules for the United State District Court, Central District of
California, require in relevant part:

L.R. 7-3 Conference of Counsel Prior to Filing of Motions. 1\n all

cases not listed as exempt in L.R. 16-12, and except in connection with

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discovery motions (which are governed by L.R. 37-1 through 37-4) and
applications for temporary restraining orders or preliminary
injunctions, counsel contemplating the filing of any motion shall first
contact opposing counsel to discuss thoroughly, preferably in person,
the substance of the contemplated motion and any potential resolution.
The conference shall take place at least seven (7) days prior to the filing
of the motion. If the parties are unable to reach a resolution which
eliminates the necessity for a hearing, counsel for the moving party
shall including in the notice of motion a statement to the following
effect: “This motion is made following the conference of counsel
pursuant to L.R. 7-3 which took place on (date).”

ALLSTATE filed no declaration describing a conference or attempt at informal
resolution in support of its ex parte application. The reason being: at no time has
defense counsel picked up the phone to try and work out a solution, in fact no “meet
and confer” effort of any kind was undertaken by Mr. Klee or SMRH. (Hook Dec.
25.) Instead, Plaintiffs’ counsel was blindsided by defendant’s ex parte application on
the eve of Thanksgiving. (Hook Dec. § 26.)

Plaintiffs note Defendant’s ex parte application violates a number of Judge
Wright’s Department Rules, including:

A) The “meet and confer” requirement set forth in Section VII, Subsection A

(2);

B) The specification in Section VII, Subsection B (4) that ex parte applications

are “solely for extraordinary relief and should be used with discretion...

Counsel’s attention is directed to the Local Rules. Applications that fail to

conform to Local Rule 7-19 and 7-19.1, including a statement of opposing

counsel’s position, will not be considered except on a specific showing of good
cause;”

C) That professional courtesy dictates moving parties should, whenever

possible, avoid filing motions for which opposition papers will be due the

Friday preceding a holiday. (Section VII Subsection A (1).)

In contravention of these guidelines, SMRH served their ex parte application

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at noon on Tuesday, November 26", and advised the undersigned that his papers
would be due twenty-four hours later, on November 27", 2019, the day before
Thanksgiving.

B. No Supporting Evidence of “Good Cause” for Relief

An ex parte application must show why the moving party should be allowed to
‘go to the head of the line in front of all other litigants and receive special treatment.”
(Mission Power Engineering Co. v. Continental Cas. Co. (C.D. CA 1995) 883 F.Supp.
488, 492.)

First, the moving party must show that his or her cause will be irreparably
prejudiced if the underlying motion is heard according to regular noticed procedures.
Second, it must be established that the moving party is without fault in creating the
crisis or that the crisis occurred as a result of excusable neglect: “Ex parte applications
are not intended to save the day for the parties who have failed to present requests
when they should have ... “ (Mission Power Engineering Co. v. Continental Cas. Co.,
supra, 883 F.Supp. at 492; see also /n re Intermagnetics America, Inc. (C.D. CA 1989)

Here, there is no “good cause” for the relief sought, because the use of foul
language during settlement, on its face, is not an extraordinary circumstance that
requires court intervention. Secondly, it appears that defense counsel caused or
contributed to the alleged situation by refusing to communicate with Plaintiffs’
counsel without explanation.

Even if the use of offensive language during settlement and _ litigation
discussions were not privileged, defendant’s motion fails because it is not supported
by sufficient evidence. Motions must be supported by evidence that meets all the
requirements for admissibility of evidence if offered at the time of trial. (Travelers
Cas. & Sur. Co. of America v. Telstar Const. Co., Inc. (D AZ 2003) 252 F.Supp.2d
917, 922; see also CD CA Rule 7-7, ND CA Rule 7-5(b).)

Plaintiffs object to the Declaration of Peter Klee as insufficient as a matter of
law pursuant to FRCP 56(c)(4), and the statement therein attributed to Mr. Hook as

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inadmissible hearsay. Furthermore, the myriad settlement e-mails, purportedly from
the undersigned, submitted with the defendant’s application were not properly
authenticated, and Plaintiffs object to the admission or consideration of each and
every document not properly authenticated that was filed in support of the subject
application. (See Hal Roach Studios, Inc. v. Richard Feiner & Co., Inc. (9"" Cir. 1990)
896 F.2d 1542, 1550-1551 — attorney’s summary of a registration statement
insufficient authentication; Beyene v. Coleman Security Services, Inc. (9"" Cir. 1988)
854 F.2d 1179, 1182 — “A writing is not authenticated simply by attaching it to an
affidavit ...”)

C. California State Law Controls Privilege Issues

In federal court civil actions as to which state /aw supplies the rule of decision
on a claim or defense (i.e., diversity cases), privilege issues must be determined in
accordance with state law (“Erie doctrine”). (FRE 501; Jn re Ford Motor Co. (3" Cir.
1997) 110 F.3d 954, 965; In re Avantel, S.A. (5" Cir. 2003) 343 F.3d 311, 318, fn. 6;
In re Powerhouse Licensing, LLC (6" Cir. 2006) 441 F.3d 467, 472.)

Preliminary questions concerning the existence of a privilege are determined
by the trial court under Rule 104(a). (FRE 104(a); United States v. Zolin (1989) 491
U.S. 554, 568.)

D. Counsel’s Alleged Statements are Privileged Per Civil Code § 47(b)

Even had defendant proffered evidence to prove that alleged offensive
statements were made by counsel during settlement communications, such statements
were likely “puffery” or “trash talk” that was absolutely privileged under California
Civil Code section 47(b). This statute provides an absolute privilege for statements
made in connection with any judicial proceeding that further the objects of the
litigation. (See Silberg v. Anderson (1990) 50 Cal.3d 205, 219-220, 266 Cal.Rp. 638,
647; Suarez v. Trigg Laboratories, Inc. (2016) 3 Cal.App.5" 118, 123-123, 207
Cal.Rp.3d 411, 416 — protection applies even against allegations of nondisclosure or
fraudulent statements made during settlement process.)

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Settlement discussions are protected by Civil Code section 47(b) and
California’s Anti-SLAPP statute, even those communications conducted in bad faith.
(C.C.P. § 425.16; Seltzer v. Barnes (2010) 182 Cal.App.4" 953, 963; 106 Cal.Rp.3d
290, 297-298.) The privileges conferred by Section 47 are absolute and apply
regardless of whether the communication was made with malice or the intent to harm.
(A.F. Brown Electrical Contractor, Inc. v. Rhino Electric Supply, Inc. (App. 4 Dist.
2006) 137 Cal.App.4" 1118.)

Civil Code section 47(b) and Evidence Code section 1152 track federal law,
specifically Rule of Evidence 408, which protects matters disclosed in settlement
discussions from use as evidence. This has been recognized in at least one federal
court as a “settlement privilege” to protect statements made during settlement
negotiations from discovery. (Goodyear Tire & Rubber Co. v. Chiles Power Supply,
Inc. (6 Cir. 2003) 332 F.3d 976, 980.)

Ill. CONCLUSION

As set forth in this opposition, the supporting declaration of the undersigned
and exhibits submitted therewith, Plaintiffs respectfully request the Court deny
defendant’s ex parte application.

Furthermore, Plaintiffs request the Court reverse its prior order setting an
“Order to Show Cause” hearing on December 16, 2019, and placing a hold on
depositions, so that Plaintiffs’ noticed continued deposition on December 10, 2019,

can continue as planned.

DATED: December 3, 2019 LAW OFFICES OF CHRISTOPHER G. HOOK

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CHRISTOPHER G. HOOK

 

Attorney for Plaintiffs

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